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                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF Southern District
                                     Of Florida Ft. Lauderdale DIVISION

           IN RE:                                                CASE NUMBER
                                                                 19-10655-BKC-JKO

                                                                 JUDGE

          DEBTOR. Consumer Advocacy Center Inc                   CHAPTER II


                  DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS) FOR

                                                    THE PERIOD
                               FROM 6/1/19           TO 6/30/19

  Comes now the above-named debtor and files its Monthly Operating Reports in acco           with the
  Guidelines established by the United States Trustee and FRBP 2015.




                                                                 ,attorney for Debtor's ignature


 Debtor's Address                                               Attorney's Address
 and Phone Number:                                              and Phone Number:

500 East Broward Ste. 1710                                             Brian Behar
Fort Lauderdale, FL 33394                                              DCOTA, Suite A-350

                                                               1855 Griffin Road Fort Lauderdale, FL 33004

(562)-417-0481                                                 305) 931 3771


 Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
 provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of
 the following month.

 For assistance in preparing the Monthly Operating Report, refer to the following resources on the United States
 Trustee Program Website, http: //www.usdoi .gov/ust/r21/reg info. htm
 I)       Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
 2)       Initial Filing Requirements
 3)       Frequently Asked Questions (FAQs)http://www.usdoj.goviust/




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                                 SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                    FOR THE PERIOD BEGINNING 6/1/19           AND ENDING 6/30/19

 Name of Debtor: Consumer Advocacy Center Inc                          Case Number 19-10655-BKC-JKO
 Date of Petition:          1/16/19
                                                                   CURRENT              CUMULATIVE
                                                                    MONTH              PETITION TO DATE

 1. FUNDS AT BEGINNING OF PERIOD                                59,999.56        (a)       30959.97               (b)
 2. RECEIPTS:
            A. Cash Sales
                 Minus: Cash Refunds                           (-)
                Net Cash Sales
            B. Accounts Receivable
            C. Other Receipts (See MOR-3)                      6.600                      84.384.97
            (If you receive rental income.
               you must attach a rent roll.)
3. TOTAL RECEIPTS (Lines 2A+2B+2C)                             6.600                      84.384.97
4. TOTAL FUNDS AVAILABLE FOR
   OPERATIONS (Line 1 + Line3)                                 66,599.56                  115344.94

5. DISBURSEMENTS
            A.
          Advertising
            B.
          Bank Charges                                                                    3970.03
          Contract Labor
            C.
            D.
           Fixed Asset Payments (not in   in -N")
            E.
          Insurance                                                                       2905.50
            F.
           Inventory Payments (See Attach. 2)
           Leases
            G.
            H.
          Manufacturing Supplies
            I.
          Office Supplies                                                                 161.08
            J.
          Payroll - Net (See Attachment 48)
            K.
          Professional Fees (Accounting & Legal)                                          545.00
            L.
           Rent                                                                           706.91
            M.
           Repairs & Maintenance
            N.
           Secured Creditor Payments (See Attach. 2)
       0. Taxes Paid - Payroll (See Attachment 4C)
       P. Taxes Paid - Sales & Use (See Attachment 4C)
       Q. Taxes Paid - Other (See Attachment 4C)
       R. Telephone
       S. Travel & Entertainment
       Y. U.S. Trustee Quarterly Fees                  650.55                             650.55
       U. Utilities
       V. Vehicle Expenses
       W. Other Operating Expenses (See MOR-3)                                            40.456.86
6. TOTAL DISBURSEMENTS (Sum of 5,4 thru W)             650.55                             49.395.93
7. ENDING BALANCE (Line 4 Minus Line 6)                        565.949.01      (c)        565.949.01             (c)


I declare under penalty of perj ury that this statement and the accompanying documents and reports are true and
correct to the best of myknowledge and belief.

This July        day of 7             .20 19   .
                                                                       jr1t7t.   AA_
                                                                            (Signature)
(a)This number is carried forward from last month's report. For the first report only. this number will be the
   balance as of the petition date.
(b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
   the petition.
(c)These two amounts will always be the same if form is completed correctly.




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                     MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)

                                    Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2. Line 2C.

                                                                                          Cumulative
         Description                                       Current Month                Petition to Date

     Marketing Income                                      6600                             36596

    Prior Month Receipts                                                                    47,788.97




TOTAL OTHER RECEIPTS                                    $6.600                          $84,384.97


"Other Receipts" includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties directors,
related corporations, etc.). Please describe below:

                                Source
 Loan Amount                   of Funds                           Purpose                      Repayment Schedule




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line 5W.
                                                                                         Cumulative
         Description                                   Current Month                  Petition to Date




TOTAL OTHER DISBURSEMENTS                                                                 40456.86




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




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                                                  ATTACHMENT I

              MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

 Name of Debtor: Consumer Advocacy Center Inc            Case Number:       19-10655-BKC-JKO

 Reporting Period beginning 6/1/19                          Period ending    6/30/19

ACCOUNTS RECEIVABLE AT PETITION DATE: $0

                            ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

           Beginning of Month Balance                         $0                       (a)
             PLUS: Current Month New Billings
             MINUS: Collection During the Month               $0                       (b)
             PLUS/MINUS: Adjustments or Writeoffs             $0
           End of Month Balance                               $0                       (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:




                          POST PETITION ACCOUNTS RECEIVABLE AGING
                       (Show the total for each aging category for all accounts receivable)

           0-30 Days         31-60 Days       61-90 Days           Over 90Days Total

      $0                   SO                $0                $0                      SO             (c)


For any receivables in the "Over 90 Days" category, please provide the following:

                           Receivable
    Customer                    Date        Status (Collection efforts taken, estimate of collectibility,
                                            write-off, disputed account, etc.)




(a)This number is carried forward from last month's report. For the first report only, this number will be
   the balance as of the petition date.
(h) This must equal the number reported in the "Current Month" column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c) These two amounts must equal.




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                                            ATTACHMENT 2
                        MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT
                                                           Not Applicable


 Name of Debtor: Consumer Advocacy Center Inc                      Case Number: 19-10655-BKC-JKO


 Reporting Period beginning 6/1/19                                  Period ending 6/30/19


In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts owed
prior to filing the petition. In the alternative, a computer generated list of payables may be attached provided all information
requested below is included.
                                          POST-PETITION ACCOUNTS PAYABLE
  Date                 Days
 Incurred            Outstanding             Vendor                     Description                                Amount




TOTAL AMOUNT                                                                                                                        (b)

❑   Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
    documentation.

                ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                                              $0                                      (a)
    PLUS: New Indebtedness Incurred This Month               $
    MINUS: Amount Paid on Post Petition,
           Accounts Payable This Month
  PLUS/MINUS: Adjustments
Ending Month Balance                                         SO                                     (c)

*For any adjustments provide explanation and supporting documentation. if applicable.

                                             SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification
agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee Program prior to
completing this section).
                                                                                 Number                    Total
                                          Date                                   of Post      Amount of
Secured                                   Payment            Amount         Petition          Post Petition
Creditor/                      Due This             Paid This       Payments          Payments
Lessor                                    Month              Month          Delinquent        Delinquent




TOTAL                                                                        (d)
(a)This number is carried forward from last month's report. For the first report only, this number will he zero.
(b. c)The total of line (b) must equal line (c).
(d)This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                                                ATTACHMENT 3
                                       INVENTORY AND FIXED ASSETS REPORT

 Name of Debtor: Consumer Advocacy Center Inc                          Case Number: 19 - 10655 - B KC-JKO

 Reporting Period beginning 6/1/19                                      Period ending 6/30/19

                                                   INVENTORY REPORT

 INVENTORY BALANCE AT PETITION DATE:                                   $0
 INVENTORY RECONCILIATION:
       Inventory Balance at Beginning of Month                         $0                                      (a)
         PLUS: Inventory Purchased During Month                        $0
         MINUS: Inventory Used or Sold                                 $0
         PLUS/MINUS: Adjustments or Write-downs                        $0
       Inventory on Hand at End of Month        $0

METHOD OF COSTING INVENTORY: IRS Depreciation Schedule

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                                    INVENTORY AGING

          Less than 6         6 months to        Greater than          Considered
          months old          2 years old        2 years old           Obsolete         Total Inventory

                              3.25                              %      96.75        %      =               100%*

* Aging Percentages must equal 100%.
❑ Check here if inventory contains perishable items.

Description of Obsolete Inventory: Old Computer Equipment, Monitors, Phone Equipment, and Office Furniture

                                                  FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: $1000                                               (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only): Old Computer Equipment



FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                           $0                                   (a)(b)
        MINUS: Depreciation Expense                                    $0
        PLUS: New Purchases                                            $0
        PLUS/MINUS: Adjustments or Write-downs                         SO
Ending Monthly Balance                                                 $0

*For any adjustments or write-downs, provide explanation and supporting documentation. if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD: N/A


(a)This number is carried forward from last month's report. For the first report only. this number will be the
   balance as of the petition date.
(b) Fair Market Value is the amount at which fixed assets could he sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.




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                                                       ATTACHMENT 4A

                    MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT


 Name of Debtor: Consumer Advocacy Center Inc                        Case Number:       19 10655 BKC JKO
                                                                                          -        -     -




 Reporting Period beginning 6/1/19                                    Period ending      6/30/19


 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
 standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reR info.htm. If bank accounts
 other than the three required by the United States Trustee Program are necessary. permission must be obtained from
 the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
 accounts must be approved by the United States Trustee.


NAME OF BANK: Bank United                                       BRANCH:        Fort Lauderdale


ACCOUNT NAME:Consumer Advocacy Center Inc (DIP)                   ACCOUNT NUMBER: X487


PURPOSE OF ACCOUNT:                       OPERATING


          Ending Balance per Bank Statement                                     $65.949.01
          Plus Total Amount of Outstanding Deposits                             $0
          Minus Total Amount of Outstanding Checks and other debits             $0
          Minus Service Charges                                                 $0
          Ending Balance per Check Register                                     $65.949.01                     **(a)


*Debit cards are used by No Debit Cards

**If Closing Balance is negative, provide explanation:



The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
Check here if cash disbursements were authorized by United States Trustee)

 Date           Amount               Payee                   Purpose                     Reason for Cash Disbursement




                     TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits - , listed above, includes:


                                                     Transferred to Payroll Account
                              S                      Transferred to Tax Account




(a) The total of this line on Attachment 4A, 413 and 4C plus the total of 4D must equal the amount reported as "Ending
   Balance" on Schedule of Receipts and Disbursements (Page MOR-2. Line 7).




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                                        ATTACHMENT 5A

                       CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: Consumer Advocacy Center Inc            Case Number: 19-10655-BKC-JKO

Reporting Period beginning 6/1/19                         Period ending 6/30/19

NAME OF BANK: Bank United                            BRANCH: Fort Lauderdale

ACCOUNT NAME: Consumer Advocacy Center Inc (DIP)

ACCOUNT NUMBER: 16111110487

PURPOSE OF ACCOUNT:                     OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE NUMBER                PAYEE                     PURPOSE                          AMOUNT
6/27/19   1001         US Trustee              US Trustee Quarterly Fees                  650.55




TOTAL                                                                                $650.55




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                                                     ATTACHMENT 4B

                 MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT -Not
                 Applicable

 Name of Debtor: Consumer Advocacy Center Inc                        Case Number: 19-10655-BKC-JKO

 Reporting Period beginning 6/1/19                                       Period ending 6/30/19

 Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
 A standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg info.htm.

NAME OF BANK: N/A                                              BRANCH:

ACCOUNT NAME:                                                 ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:                          PAYROLL

          Ending Balance per Bank Statement
           Plus Total Amatint of Outstanding Deposits
           Minus Total Amount of Outstanding Checks and other debits                     $
           Minus Service Charges
          Ending Balance per Check Register                                              S                             **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:

The following disbursements were paid by Cash: ( o Check here if cash disbursements were authorized
                                                    by United States Trustee)

Date          Amount               Payee                   Purpose             Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

Date        Amount              Payee            Purpose                      Reason for disbursement from thiaccount




(a)The total of this line on Attachment 4A. 48 and 4C plus the total of 4D must equal the amount reported as -Ending
   Balance" on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                  ATTACHMENT 5B
                         CHECK REGISTER - PAYROLL ACCOUNT


Name of Debtor: Consumer Advocacy Center Inc             Case Number:     19-10655-BKC-JKO

Reporting Period beginning 6/1/19                         Period ending   6/30/19

NAME OF BANK:        N/A                                 BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                     PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE NUMBER                 PAYEE                        PURPOSE                       AMOUNT




TOTAL




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                                                      ATTACHMENT 4C

                         MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT-Not Applicable

 Name of Debtor: Consumer Advocacy Center Inc                             Case Number: 19-10655-BKC-JKO

 Reporting Period beginning 6/1/19                                        Period ending 6/30/19

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard
bank reconciliation form can be found on the United States Trustee website. http://www.usdoj.gov/ust/r21/index.htm.

NAME OF BANK: N/A                                           BRANCH:

ACCOUNT NAME:                                           ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                       TAX

          Ending Balance per Bank Statement
           Plus Total Amount of Outstanding Deposits
           Minus Total Amount of Oustanding Checks and other debits $
           Minus Service Charges
          Ending Balance per Check Register                                                              **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( o Check here if cash disbursements were authorized by
                                                            United States Trustee)
Date       Amount               Payee                  Purpose                    Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date       Amount                 Payee                   Purpose             • Reason for disbursement from this account




(a)The total of this line on Attachment 4A. 4B and 4C plus the total of 41) must equal the amount reported as "Ending
   Balance" on Schedule of Receipts and Disbursements (Page MOR-2. Line 7).




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                                            ATTACHMENT 5C

                               CHECK REGISTER - TAX ACCOUNT-Not Applicable


 Name of Debtor:    Consumer Advocacy Center Inc               Case Number:    19-10655-B KC-JKO


 Reporting Period beginning 6/1 / 19                           Period ending   6/30/19


NAME OF BANK: N/A                                           BRANCH:

ACCOUNT NAME:                                           ACCOUNT #

PURPOSE OF ACCOUNT:                        TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.
http://www.usdoj.aov/ust/
          CHECK
DATE NUMBER               PAYEE                   PURPOSE                            AMOUNT




TOTAL                                                                                                 (d)
                                     SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                    (a)
Sales & Use Taxes Paid                                                                                (b)
Other Taxes Paid                                                                                      (c)
TOTAL                                                                                                 (d)


(a) This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 50).
(b) This number is reported in the "Current Month" column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).
(c) This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.




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                                      ATTACHMENT 4D

                 INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                              IN VESTMENT ACCOUNTS-Not Applicable

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable-N/A
                                                                                  Current
Instrument            Face Value        Purchase Price      Date of Purchase      Market Value




TOTAL                                                                                          (a)
                          PETTY CASH REPORT-Not Applicable

The following Petty Cash Drawers/Accounts are maintained:N/A

                      (Column 2)             (Column 3)                (Column 4)
                      Maximum                Amount of Petty     Difference between
Location of           Amount of Cash         Cash On Hand (Column 2) and
Box/Account           in Drawer/Acct.        At End of Month      (Column 3)




TOTAL                                                          (h)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                          S                    (c)


(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as "Ending Balance" on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).




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                                           ATTACHMENT 6

                                     MONTHLY TAX REPORT

Name of Debtor:   Consumer Advocacy Center Inc                Case Number:    19-10655-BKC-JKO

Reporting Period beginning 6/1/19                             Period ending   6/30/19



                                     TAXES OWED AND DUI-
                                     Not Applicable

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of                Date                                            Date Last
Taxing                 Payment                                         Tax Return Tax Return
Authority              Due             Description          Amount       Filed       Period




TOTAL




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                                                             ATTACHMENT 7

                                  SUMMARY OF OFFICER OR OWNER COMPENSATION

                              SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

   Name of Debtor: Consumer Advocacy Center Inc                          Case Number: 19-10655-BKC-JKO

   Reporting Period beginning 6/1/19                                     Period ending 6/30/19

   Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
   car allowances, payments to retirement plans. loan repayments, payments of Officer/Owner's personal expenses.
   insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
   and for which detailed receipts are maintained in the accounting records.
                                                           Payment
   Name of Officer or Owner             Title               Description                        Amount Paid

            Albert Kim                     President                                                                 $0




                                                          PERSONNEL REPORT
                                                                                        Full Time               Part Time
  Number of employees at beginning of period                                              0                 0

  Number hired during the period                                                            0               0
  Number terminated or resigned during period                                           0                    0
  Number of employees on payroll at end of period                                       0                    0

                                               CONFIRMATION OF INSURANCE

  List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
  comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
  insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
  the month (new carrier, increased policy limits. renewal, etc.).

  Agent                                                                                                                Date
  and/or                          Phone                  Policy              Coverage               Expiration         Premium
  Carrier                         Number                 Number              Type                   Date               Due

The Hartford                      949-247-2205             72SBMBC2423General Liability         2/15/20                     3/15/19




  The following lapse in insurance coverage occurred this month:

  Policy                 Date               Date
  Type                   Lapsed             Reinstated            Reason for Lapse




    X Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                       ATTACHMENT 8



                        SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

 Information to be provided on this page, includes. but is not limited to: (I) financial transactions that are not reported
 on this report. such as the sale of real estate (attach closing statement); (2) non-financial transactions, such as the
 substitution of assets or collateral: (3) modifications to loan agreements; (4) change in senior management, etc.
 Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before




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                 BankUnited                                                                               Page 1 of 3


   P.O. Box 521599 Miami, FL 33152-1599                                           Statement Date: June 30, 2019
                                                                                 Account Number: ********4487

                                                                                                                         1    '2




          >001474 3119123 0001 008229 10Z                                             Client Care:      877-779-BANK (2265)
          CONSUMER ADVOCACY CENTER INC.

                                                                               d
          DEBTOR IN POSSESSION
          CASE # 19-10655-JKO                                                         Web Site:         www.bankunited.com
          500 EAST BROWARD BLVD STE 1710
          FORT LAUDERDALE FL 33394
                                                                                      Bank Address: BankUnited
                                                                                                        P.O. Box 521599
                                                                                                        Miami, FL 33152-1599




                               Customer Message Center


                               Introducing our new fraud text alert service! With BankUnited's fraud monitoring
                               service, keeping your debit card safe is as easy as sending a text.




DIP BUSINESS CHECKING Account ********4487

Account Summary
Statement Balance as of 05/31/2019                                                                                      $59,999.56
          Plus                                    2      Deposits and Other Credits                                          $6,600.00
          Less                                     1     Withdrawals, Checks, and Other Debits                                     $650.55
          Less                                           Service Charge                                                              $0.00
          Plus                                           Interest Paid                                                               $0.00
Statement Balance as of 06/30/2019                                                                                      $65,949.01


Activity By Date
Date             Description                                               Withdrawals               Deposits                 Balance
06/11/2019       PRIME CONSULTING ACH Pmt                                                            $2,960.00          $62,959.56
                  Consumer Advocacy Cent
06/21/2019       PRIME CONSULTING ACH Pmt                                                            $3,640.00          $66,599.56
                  Consumer Advocacy Cent
06/27/2019       CHECK #1001                                                   $650.55                                  $65,949.01



Check Transactions

Check #      Date          Amount
1001         06/27         $650.55




                                                       BankUnited, N.A.

                                                                                               01474 3119123 002948 005895 0001/0002
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                                                                              Statement Date: June 30, 2019
                                                                              Account Number: ********4487




                            Items denoted with an "*" indicate processed checks out of sequence.



Balances by Date
Date     Balance              Date      Balance               Date     Balance               Date      Balance
05/31    $59,999.56           06/11     $62,959.56           06/21     $66,599.56            06/27     $65,949.01



Other Balances
Minimum Balance this Statement Period                                                                               $59,999.56




                    At BankUnited, we want to make sure that using your debit card is always as safe and
                    convenient as possible. That's why we're launching fraud text alerts as part of our ongoing
                    fraud monitoring program. If we have your mobile phone number on file, you will be
                    automatically enrolled in our fraud text alert service. To learn more about our new service,
                    please call us at 1-877-779-2265.




                                                  BankUnited, N.A.
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                 BankUnited                                                                         Page 3 of 3

   P.O. Box 521599 Miami, FL 33152-1599                                      Statement Date: June 30, 2019
                                                                             Account Number: ********4487




If your account does not balance please check the following carefully:
Have you entered the amount of each check in your checkbook register?
Are the amounts of your deposits and other additions entered in your checkbook register the same as those on this
statement?
Have you checked all additions and subtractions in your checkbook register?
Have you carried the correct balance forward when starting a new page in your checkbook register?


IN CASE OF QUESTIONS OR ERRORS ABOUT YOUR STATEMENT:
PLEASE CALL (TOLL FREE) 1-877-779-BANK (2265) OR WRITE US AT:

                                          BankUnited Operations / EFT Error
                                      7815 NW 148th ST, Miami Lakes, FL 33016

For Consumer Customers Only
Please contact us if you think your statement is wrong or if you need additional information about a transaction. We
must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem
appeared.
1. Tell us your name and account number.
2. Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe there
is an error or why you need further information.
3. Tell us the dollar amount of the suspected error.
You may be required to put your request in writing. We will investigate your complaint and will correct any error
promptly.

For Electronic Funds Transfers, if we take more than 10 business days to investigate and correct the error, (20
business days if you are a new customer for electronic funds transfers occurring during the first 30 days after the
first deposit is made to your account), we will recredit your consumer account for the amount you think is in error
(plus interest if your account earns interest), so that you will have the use of the money during the time it takes us
to complete our investigation.

For Substitute Checks, if we take more than 10 business days to investigate and correct the error, we will recredit
your consumer account for the amount of loss up to the lesser of $2,500.00 (plus interest if your account earns
interest) or the amount of the substitute check. If your account is new (30 days from the date your account was
established), has been subject to repeated overdrafts, or we believe the claim is fraudulent, we may delay the
availability of recredited funds until we determine the claim is valid or until the 45th day after the claim was
submitted.




                                                                                                         Member

 EQUAL HOUSING
 LENDER
                                                                                                         FDIC
                                                BankUnited, N.A.

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Lb BankUnited                                                                                       9




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               Premier Student Loan Center
                             PROFIT AND LOSS
                                   June 2019



                                                                   TOTAL
      Income
       Marketing Income                                          6,600.00
      Total Income                                              $6,600.00
      GROSS PROFIT                                              $6,600.00
      Expenses
       Legal & Professional Fees
        US Trustee                                                650.55
       Total Legal & Professional Fees                            650.55
      Total Expenses                                             $650.55
      NET OPERATING INCOME                                      $5,949.45
      NET INCOME                                                $5,949.45




               Cash Basis Sunday, July 7, 2019 10:28 PM GMT-7                   1/1
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                                    Premier Student Loan Center
                                                   BALANCE SHEET
                                                   As of June 30, 2019


                                                                                                         TOTAL
ASSETS
 Current Assets
  Bank Accounts                                                                                      $65,949.01
  Other Current Assets                                                                                    $0.00
 Total Current Assets                                                                                $65,949.01
 Fixed Assets                                                                                             $0.00
 Other Assets
  Irvine Company Security Deposit                                                                     19,650.00
  Rent Security Deposits                                                                                   0.00
 Total Other Assets                                                                                  $19,650.00
TOTAL ASSETS                                                                                         $85,599.01

LIABILITIES AND EQUITY
 Liabilities                                                                                              $0.00
 Equity                                                                                              $85,599.01
TOTAL LIABILITIES AND EQUITY                                                                         $85,599.01




                                    Cash Basis Sunday, July 7, 2019 10:29 PM GMT-7                         1/1
